                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


  UNITED STATES OF AMERICA,                    )
                                               )
                              Plaintiff,       )
                                               )
                       v.                      )
                                               )                  No. 3:20-CR-8-TAV-HBG
                                               )
  JOHN JOSEPH RUSH, II, et al,                 )
                                               )
                              Defendants.      )


                               MEMORANDUM AND ORDER

         All pretrial motions in this case have been referred to the undersigned pursuant to 28

  U.S.C. § 636(b) for disposition or report and recommendation as may be appropriate. This case

  came before the undersigned on September 14, 2020, for a pretrial conference and telephonic

  motion hearing on the Motion to Continue Trial and Extend Deadlines [Doc. 11], filed by

  Defendant Eddie Lee Parks on August 31, 2020, and a motion [Doc. 117] to adopt this motion

  filed by Defendant Toni Marilyn Fee on September 10, 2020. Assistant United States Attorney

  Alan Scott Kirk participated on behalf of the Government. The following defense counsel

  represented the Defendants: Assistant Federal Defender Bobby E. Hutson, Jr., for Defendant

  John Joseph Rush, II; Attorney Christopher Rodgers for Defendant Raymond G. Edwards, Jr.;

  Attorney David M. Eldridge for Defendant James Edward Chasteen; Attorney Mike Whalen for

  Defendant Desmond O. Stephenson; Attorney Russell T. Greene for Defendant Christopher R.

  Edwards; Attorney Christopher Oldham appearing on behalf of Attorney Gerald L. Gulley, Jr.,

  for Defendant Jarred M. Rush; Attorney Ruth Thompson Ellis for Defendant Eddie Lee Parks;

  Attorney Mark E. Brown for Defendant Daniel Dewitt Walker; and Attorney Kimberly A. Parton




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  for Defendant Toni Marilyn Fee. The Court excused all Defendants from attending this hearing,

  which it conducted by telephone.

          Defendant Parks moves [Doc. 112] the Court to continue the September 29, 2020 trial

  date and other pretrial deadlines in this case, in order to give counsel additional time to prepare

  for trial. The Defendant states that counsel needs additional time to review the discovery, to file

  and litigate pretrial motions, to interview witnesses, and to conduct other trial preparations.

  Additionally, the Defendant states that the parties are engaged in plea discussions. The motion

  relates that Defendant Parks has recently tested positive for COVID-19. The motion states that

  the Government does not oppose the requested continuance. Defendant Fee asks [Doc. 117] to

  adopt this motion, because she is similarly situated.

          During the telephonic hearing, Ms. Ellis noted that this case involves a large amount of

  discovery. She also stated that although plea negotiations have been ongoing, the negotiations

  have been challenging.       She stated that her client’s COVID-19 diagnosis has delayed

  preparations in this case. Accordingly, Ms. Ellis argued that a trial continuance would promote

  the ends of justice. Ms. Parton stated that these reasons also apply to Defendant Fee. Counsel

  for Defendants John Rush, Christopher Edwards, Chasteen, and Stephenson stated that their

  clients also adopted the motion to continue. AUSA Kirk confirmed that the Government does

  not oppose the requested continuance. Counsel for Defendants Raymond Edwards, Jarred Rush,

  and Daniel Walker stated no position on the motion. The parties agreed on a new trial date of

  February 2, 2021. The Government and Defendant Chasteen agreed on a new trial date of March

  9, 2021. 1



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   On September 3, 2020, the undersigned severed Defendant Chasteen for a separate trial from
  that of his codefendants and ruled that Defendant Chasteen’s trial would occur after that of the
  other codefendants [Doc. 116].

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         The Court finds the motion to continue the trial [Doc. 112], along with the written [Doc.

  117] and oral motions to join in the motion to continue to be unopposed by the Government and

  all codefendants and well-taken. The Court also finds that the ends of justice served by granting

  a continuance outweigh the interest of the Defendants and the public in a speedy trial. 18 U.S.C.

  § 3161(h)(7)(A). The Indictment [Doc. 3] charges Defendants John Rush, Raymond Edwards,

  Chasteen, and Stephenson with conspiring to distribute methamphetamine from April 2015, to

  June 30, 2019 (Count One).       Defendant Raymond Edwards is charged with six counts of

  distribution or possession with intent to distribute controlled substances, two counts of

  possession of a firearm in furtherance of a drug trafficking crime, and one count of being a felon

  in possession of a firearm. All twelve Defendants are charged with money laundering (Count

  Eleven) from April 2015 to June 30, 2019.

         The Court finds that defense counsel need additional time to review discovery, to

  investigate the facts of the case, to confer with their clients, to prepare and litigate pretrial

  motions, and to prepare the case for trial. The Court notes that restrictions relating to the

  COVID-19 pandemic have slowed trial preparations in this case, particularly for counsel for

  Defendant Parks. The Court finds that the Defendants cannot be prepared for trial by September

  29 or in less than four and one-half months. Thus, the Court finds that without a continuance,

  defense counsel would not have the reasonable time necessary to prepare for trial, even

  proceeding with due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).

                 Accordingly, the motion to continue the trial [Doc. 112] and the written [Doc.

  117] and oral motions to join in the motion to continue are GRANTED. The trial of this case is

  reset to February 2, 2021. The trial for Defendant Chasteen is reset to March 9, 2021. The

  Court finds that all the time between the filing of Defendant Parks’s motion on August 31, 2020,



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  and the new trial dates of February 2 and March 9, 2021, is fully excludable time under the

  Speedy Trial Act for the reasons set forth herein. See 18 U.S.C. § 3161(h)(1)(D) & -(7)(A)-(B).

  The Court set a new schedule in this case, which is stated in detail below.

         Accordingly, it is ORDERED as follows:

            (1) The Motion to Continue Trial and Extend Deadlines [Doc. 112] is
                GRANTED. The oral and written [Doc. 117] motions to join in
                this motion are GRANTED;

            (2) The trial of Defendants John Rush, Raymond Edwards, Desmond
                Stephenson, Christopher Edwards, Jarred Rush, Eddie Parks,
                Daniel Walker, and Toni Fee is reset to commence on
                February 2, 2021, at 9:00 a.m., before the Honorable Thomas A.
                Varlan, United States District Judge;

            (3) The trial of Defendant James Chasteen is reset to commence on
                March 9, 2021, at 9:00 a.m., also before District Judge Varlan;

            (4) All time between the filing of the motion to continue on August
                31, 2020, and the new trial dates of February 2, 2021, and March
                9, 2021, is fully excludable time under the Speedy Trial Act for the
                reasons set forth herein;

            (5) The new deadline for all Defendants for filing pretrial motions is
                November 6, 2020. Responses to motions are due on or before
                November 20, 2020;

            (6) For Defendants John Rush, Raymond Edwards, Desmond
                Stephenson, Christopher Edwards, Jarred Rush, Eddie Parks,
                Daniel Walker, and Toni Fee,

                     (a) the deadline for concluding plea negotiations and
                         providing reciprocal discovery is extended to January
                         4, 2021;

                     (b) motions in limine must be filed no later than January
                         19, 2021;

                     (c) the parties are to appear before the undersigned for a
                         final pretrial conference on January 20, 2021, at
                         11:00 a.m.; and




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                 (d) requests for special jury instructions shall be filed no
                     later than January 22, 2021, and shall be supported
                     by citations to authority pursuant to Local Rule 7.4.;
                     and

             (7) For Defendant James Chasteen,

                 (a) the deadline for concluding plea negotiations and
                     providing reciprocal discovery is extended to
                     February 8, 2021;

                 (b) the parties are to appear before the undersigned for a
                     final pretrial conference on February 22, 2021, at
                     11:00 a.m.;

                 (c) motions in limine must be filed no later than
                     February 22, 2021; and

                 (d) requests for special jury instructions shall be filed no
                     later than February 26, 2021, and shall be supported
                     by citations to authority pursuant to Local Rule 7.4.

        IT IS SO ORDERED.
                                           ENTER:


                                           United States Magistrate Judge




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